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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                       Case No. 07-20534-CR-UNGARO/O’SULLIVAN


  UNITED STATES OF AMERICA,

          Plaintiff,

  v.

  COURTNEY LAMAR TERLONGE,

       Defendant.
  ___________________________/

                                          ORDER

          THIS MATTER came before the Court on defendant Courtney Lamar Terlonge’s Ex-

  Parte Motion for Investigative Costs (DE# 38, 10/16/07). Having reviewed the applicable

  filings and law, it is hereby

          ORDERED AND ADJUDGED that defendant Courtney Lamar Terlonge’s Ex-Parte

  Motion for Investigative Costs (DE# 38, 10/16/07) is GRANTED. The defendant, Courtney

  Lamar Terlonge, may incur private investigator costs up to $1,500 at the approved CJA

  hourly rate to be paid under the Criminal Justice Act.

          DONE AND ORDERED, in Chambers, in Miami, Florida, this 29th day of October

  2007.



                                           ____________________________________
                                           JOHN J. O’SULLIVAN
                                           UNITED STATES MAGISTRATE JUDGE

  Copies provided to:
  United States District Judge Ungaro
  All counsel of record
